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                                                                                  IN CLEWS OFFICE
                                                                            U.S. DISTRICT COURT E.D.PLY
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                               * FEB 222017 *

 UNITED STATES OF AMERICA                                  1 5-CR-382

                - against -                                Statement of Reasons Pursuant to
                                                           18 U.S.C. § 3553(c)(2)
 Henry Curry,

                       Defendant.


 JACK B. WEINSTEIN, Senior United States District Judge:

 Appearances

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     I.        Introduction

               Defendant pled guilty to one count of conspiracy to distribute and possess with intent to

 distribute heroin pursuant to 21 U.S.C. § § 846, 841 (a)(1), and 841 (b)(1 )(C). See Guilty Plea

 Transcript, July 28, 2016, ECF No. 349 ("Pleading Tr."), at 19. He participated in a drug

 trafficking organization ("DTO") to distribute heroin in Queens, New York. Ten other

 defendants are currently awaiting trial or sentencing and one other defendant has been sentenced

 in the above-captioned case.

               On February 6, 2017, he was sentenced to time served of 10 months, supervised release

 for 3 years, and a $100 special assessment. See Sentencing Hr'g Tr., Feb. 6, 2017 ("Sent.



          A.       Instant Offense

               He is a twenty-eight year-old African American male, born in Queens, New York.

 Presentence Investigation Report, Nov. 22, 2016 ("PSR") at 2. An investigation commenced by

 Homeland Security Investigation ("HSI") and other law enforcement agencies in 2013 revealed

 that Mr. Curry, together with Kamel Lambus, Stanley Fuller, Shavona Trappier, Shakeem

 Powell, Sean Brabram, Scott Williams, Tyrone Thomas, Andre Mitchell, Earl Davis, Michael

 Scott, and Tyran Trotter ("defendants"), was participating in a street gang called Paper Chasing
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Goons. PSR at ¶ 3. Ten of the eleven remaining defendants are currently awaiting trial or

sentencing. Id. at 3. The investigation revealed that the DTO maintained access to narcotics and

firearms; some of its members distributed heroin to a network of drug traffickers who then sold it

to customers. Id. at ¶11 3-4. Defendants sold heroin from several stash houses, and during the

course of the investigation, it was determined that a mobile telephone was used to distribute

heroin to the DTO's customers. Id. at ¶J 4-5.

          On April 20, 2015, Mr. Curry arranged during a monitored telephone call to purchase one

gram of heroin from a conspirator, one Kamel Lambus. Id. at ¶ 9. On May 15, 2015, during

another monitored phone call, Mr. Curry and Mr. Lambus discussed Mr. Curry's efforts to

increase the amount of heroin he was distributing for the DTO. Id. at ¶ 10. Mr. Curry informed

Mr. Lambus that he was having difficulty selling heroin on the street, and Mr. Lambus advised

Mr. Curry as to how he could increase his sales. Id.

         B.      Arrest

              Defendant was arrested by HSI agents on October 5, 2015, at the New York County

 Criminal Court in Manhattan, New York, while in local custody for an unrelated offense. Id. at ¶

 8. He was released on a personal recognizance bond on October 22 3 2015. For violations of bail

 conditions, he was remanded on May 5, 2016 and has remained incarcerated since that date. Id.

 at 1.

         C.      Guilty Plea

              In July, Mr. Curry pled guilty to one count of conspiracy to distribute and possess with

 intent to distribute heroin pursuant to 21 U.S.C. §§ 846, 841(a)(1), and 841 (b)(1 )(C).     See

 Pleading Tr. at 19. The offense carried a maximum term of imprisonment of 20 years. 21

 U.S.C. § 841(b)(1)(C). A special assessment of $100 was mandatory. 18 U.S.C. § 3013. The



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statutory provisions and Sentencing Guidelines ("Guidelines") impose a mandatory term of

supervised release of three years. 21 U.S.C. § 841(b)(1)(C); U.S.S.G. § 5D1.2(c).

     D.          Sentencing Hearing

          A sentencing hearing was conducted on February 6, 2017. See Sent. Hr'g. The hearing

was videotaped to develop an accurate record of the courtroom atmosphere, as well as some of

the subtle factors and considerations that a district court must consider in imposing a sentence.

See 18 U.S.C. § 3553(a); In re Sentencing, 219 F.R.D. 262, 264-65 (E.D.N.Y. 2004) (describing

the value of video recording for the review of sentences on appeal).

 II. Offense Level, Category, and Sentencing Guidelines Range

          Defendant's base offense level is 30, with a criminal history category of IV. See PSR at

¶J 51, 68-70. The offense level was decreased by three points pursuant to U.S.S.G. § 3E. 1.1(a)-

(b) for defendant's acceptance of responsibility. PSR at ¶J 58-60. The total adjusted offense

level is 27. Id. at ¶ 60. The parties do not object to this calculation. See Sent. Hr'g. The

Guidelines imprisonment range is 100 to 125 months. See U.S.S.G. Ch. 5 Pt. A; PSR at ¶ 107.

          Pursuant to the Supreme Court's decision in United States v. Booker, the Guidelines are

advisory; a sentencing court may depart from them in the interest of justice as well as in light of

other statutory concerns as expressed in section 3 553(a). United States v. Booker, 543 U.S. 220 5

245-46 (2005); see also United States v. Cavera, 550 F.3d 180, 189 (2d Cir. 2008) (en banc)

(footnote omitted) ("It is now, however, emphatically clear that the Guidelines are guidelines -

that is, they are truly advisory. A district court may not presume that a Guidelines sentence is

reasonable; it must instead conduct its own independent review of the sentencing factors, aided

by the arguments of the prosecution and defense.")




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 III. Law

        A sentencing court shall "state in open court the reasons for its imposition of the

particular sentence." 18 U.S.C. § 3 553(c). If the sentence is not of the kind prescribed by, or is

 outside the range of, the Sentencing Guidelines referred to in section 3553(a)(4) of title 18, the

 court shall indicate the specific reasons for imposing a different sentence. See 18 U.S.C. §

 3553(c)(2). These "reasons must also be stated with specificity in a statement of reasons form."

Id. Even though the Guidelines are now advisory rather than mandatory, Booker, 543 U.S. at

 245-46, the sentencing court must still adhere to the requirements of 18 U.S.C. § 3553(c)(2).

 United States v. Jones, 460 F.3d 191, 197 (2d Cir. 2006).

        The sentencing court's written statement of reasons shall be "a simple, fact-specific

 statement explaining why the Guidelines range did not account for a specific factor or factors

 under § 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006), abrogated in

part on other grounds by Kimbrough v. United States, 552 U.S. 85 (2007). Such a statement

 should demonstrate that the court "considered the parties' arguments' and that it has a 'reasoned

 basis for exercising [its] own legal decisionmaking authority." Cavera, 550 F.3d at 193

 (quoting Rita v. United States, 551 U.S. 338, 356 (2007)).

         In view of the excessive incarceration rates in the recent past and their unnecessary,

 deleterious effects on individuals sentenced, society and our economy, parsimony in

 incarceration is to be prized. See, e.g., 18 U.S.C. § 3 553(a) ("The court shall impose a sentence

 sufficient, but not greater than necessary."); National Research Council of the National

 Academies, The Growth of Incarceration in the United States, Exploring Causes and

 Consequences, 8 (2014) ("Parsimony: the period of confinement should be sufficient but not

 greater than necessary to achieve the goals of sentencing policy.").



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IV.     18 U.S.C. § 3553(a) Considerations

        The court considered the "nature and circumstances of the offense and the history and

characteristics of the defendant." 18 U.S.C. § 3553(a)(1).

        Mr. Curry was born in 1988 in Queens. PSR at ¶ 76. His parents separated in 1994 or

1995. Id. Defendant resided with his mother and siblings in the family home until 1999, when

he moved in with his father in Queens. Id. at ¶ 87. His father is a retired hospital worker, and

when defendant was 17 or 18, his father left New York and moved to the South of the United

States. Id.; Sent. Hr'g. Defendant's mother works as a home health aide and resides in

Maryland. Id. at ¶ 76. Both of his parents are aware of defendant's conviction and are

supportive. Id.

        Defendant has three full-siblings. Id. at ¶ 77. His oldest sister is a hospital worker and

resides in Georgia with her husband and three children. Id. Another sister resides in Brooklyn,

and her occupation is unknown. Id. His third sister resides in Queens with her husband and two

children and works at an airport. Id. Defendant also has five maternal half-siblings, all of whom

are employed. Id. at ¶ 78. His siblings are aware of his conviction and are supportive. Id.

        Mr. Curry has five children. He has two children from a previous relationship. Id. at ¶

81. These children are 7 and 5 years old and live with their mother. Id. Defendant describes his

relationship with the children and their mother as very good. Id. He does not provide her with

child support payments. Id. at ¶ 82.

       Mr. Curry also has a daughter from a previous relationship. Id. at ¶ 83. She is 7 years

old and resides with her mother. Id. Defendant has a good relationship with his daughter and the

mother, and has provided the mother with child support payments as needed since their

daughter's birth. Id.
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        Since approximately 2007, defendant has been in a relationship with his current

 girlfriend. Id. at ¶ 85. They have two children together, who are ages 5 and 3. Id. Defendant's

 girlfriend experienced difficulty supporting herself and her children financially while defendant

was in custody. Id.

        Prior to his arrest, defendant was employed as a ticket salesman at the Statue of Liberty,

making a commission of up to $200 per day. Id. at ¶ 99; Sent. Hr'g. His sister testified at the

 sentencing hearing that when she learned of her brother's involvement in the DTO, she assisted

 him in finding this job. Sent. Hr'g. With his sister's encouragement, defendant left Queens - the

 neighborhood in which he was living and selling heroin - and moved in with her. Id. He began

 distancing himself from the DTO, stopped selling heroin, and obtained employment several

 months before he was arrested. Id. His sister testified that she will continue to house and

 support defendant following his release. Id.

        Defendant did not hold steady employment prior to his job selling tickets at the Statue of

 Liberty, and was unemployed for several periods of time. PSR at ¶J 98-103. Defendant left high

 school after completing the eleventh grade; he began working towards earning a General

 Education Development diploma while incarcerated. Id. at ¶ 97; Sent. Hr'g.

        Mr. Curry has experienced severe problems in custody. Sent. Hr'g. Likely because other

 inmates believed defendant to be an informant, he was attacked on multiple occasions during his

 incarceration. Id.

         He currently does not use drugs or alcohol. PSR at ¶ 94; Sent. Hr'g. Beginning at the

 age of 18, he began to use marijuana; he smoked up to two blunts per day at the height of his

 marijuana use. Id. While he was released on bail for the instant offense, he tested positive for




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marijuana on five occasions. Id. at ¶ 95. Prior to his current offense, defendant had five

misdemeanor convictions and one violation. Id. at ¶J 62-67.

        Mr. Curry's involvement in the DTO involved no use of firearms or supervision of

others. Id. at ¶ 10. He has repeatedly accepted responsibility for his offenses. Id. at ¶J 58-59;

Sent. Hr'g.

 V.     Sentence

        Under section 3 553(a)(2)(B) of title 18, a sentencing court must consider two major

factors: general and specific deterrence.

        In light of the nature of the offense and the characteristics of the defendant, Mr. Curry is

sentenced to time-served of 10 months. See Sent. Hr'g. A $100 special assessment was imposed.

18 U.S.C. § 3013. No fine was imposed in light of the defendant's inability to pay one. See

Sent. Hr'g; PSR at ¶ 104. Three years supervised release was ordered. See Sent. Hr'g.

        General and specific deterrence are achieved by the sentence imposed. Mr. Curry pled

guilty to a serious offense. He has expressed genuine remorse for his conduct and understands

the gravity of his actions.

VI.     Conclusion

        All relevant elements of the Guidelines and statutes have been considered. Respectful

consideration was given to the Sentencing Commission's policy statements, and all other factors

listed under section 3553(a) of title 18, to ensure that the sentence is "sufficient, but not greater

than necessary, to comply with the purposes" of sentencing. 18 U.S.C. § 3553(a).




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                                             ff. Weinstein
                                            ior United States District Judge
Dated: February 8, 2017
       Brooklyn, New York
